         Case 3:20-cv-02731-VC Document 1205-3 Filed 01/27/22 Page 1 of 5



 1                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
 2                                       SAN FRANCISCO DIVISION
 3
     ANGEL DE JESUS ZEPEDA RIVAS,                    CASE NO. 3:20-CV-02731
 4   BRENDA RUBI RUIZ TOVAR, LAWRENCE
     KURIA MWAURA, LUCIANO GONZALO                   [PROPOSED] ORDER GRANTING
 5   MENDOZA JERONIMO, CORAIMA                       PLAINTIFFS’ MOTION FOR
     YARITZA SANCHEZ NUÑEZ, JAVIER                   PRELIMINARY APPROVAL OF
 6   ALFARO, DUNG TUAN DANG, JUAN JOSE               PROPOSED CLASS SETTLEMENT
     ERAZO HERRERA, RAJNISH RAJNISH, and
 7   WILLIAN MATIAS RAUDA,                           JUDGE VINCE CHHABRIA

 8         Petitioners-Plaintiffs,

 9          v.

10 DAVID JENNINGS, Acting Director of the San
   Francisco Field Office of U.S. Immigration and
11 Customs Enforcement; TAE JOHNSON, Acting
   Director of U.S. Immigration and Customs
12 Enforcement; U.S. IMMIGRATION AND
   CUSTOMS ENFORCEMENT; GEO GROUP,
13 INC.; MICHAEL KNIGHT, Acting Warden of
   Mesa Verde Detention Facility,
14
           Respondents-Defendants.
15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                           CASE NO. 3-20-CV-02731
                                                         [PROPOSED] ORDER GRANTING PLAINTIFFS’
                                                             MOTION FOR PRELIMINARY APPROVAL
        Case 3:20-cv-02731-VC Document 1205-3 Filed 01/27/22 Page 2 of 5



 1          Plaintiffs Angel De Jesus Zepeda Rivas, Brenda Rubi Ruiz Tovar, Lawrence Kuria Mwaura,
 2   Luciano Gonzalo Mendoza Jeronimo, Coraima Yaritza Sanchez Nuñez, Javier Alfaro, Juan Jose
 3   Erazo Herrera, Rajnish Rajnish, and Willian Matias Rauda have filed a Motion for Preliminary
 4   Approval of the class action settlement reached with Defendants. The Court has carefully
 5   considered the Class Settlement Agreement last executed on December 17, 2021 (the “Agreement”)
 6   together with all exhibits thereto, all the filings related to the settlement, the arguments of counsel,
 7   and the record in this case. The Court hereby gives its preliminary approval of the settlement; finds
 8   that the settlement and Agreement are sufficiently fair, reasonable, and adequate to allow
 9   dissemination of notice of the settlement to the Settlement Class and to hold a Fairness Hearing;
10   orders the Class Notice to be sent to the Settlement Class in accordance with the Agreement and
11   this Order; and schedules a Fairness Hearing to determine whether the proposed settlement is fair,
12   adequate, and reasonable.
13          IT IS HEREBY ORDERED THAT:
14          1.      The Agreement is hereby incorporated by reference in this Order, and all terms or
15   phrases used in this Order shall have the same meaning as in the Agreement.
16          2.      The Court preliminarily approves the settlement and Agreement, finding that the
17   terms of the Agreement are fair, reasonable, and adequate, and within the range of possible approval
18   and sufficient to warrant providing notice to the Settlement Class.
19
             3.      Pursuant to Fed. R. Civ. P. 23(a) and (b)(2), and (e), the Court certifies, for
20
     settlement purposes only, the following class comprised of all people who are or have been in ICE
21
     custody at the Facilities on or after April 20, 2020 (the “Settlement Class”).
22
             4.      The Court finds, for settlement purposes only, that the Action may be maintained
23
     as a class action on behalf of the Settlement Class because:
24
                     a.     Numerosity: Class Counsel estimates that over 400 people qualify as
25
                            members of the Settlement Class. Rule 23(a)(1) is satisfied.
26
                     b.     Commonality: The alleged constitutional violations expose all Class
27
                            Members to an unnecessary risk of harm. These issues are common to the
28
                                                                                 CASE NO. 3-20-CV-02731
                                                      1.       [PROPOSED] ORDER GRANTING PLAINTIFFS’
                                                                   MOTION FOR PRELIMINARY APPROVAL
        Case 3:20-cv-02731-VC Document 1205-3 Filed 01/27/22 Page 3 of 5



 1                          Settlement Class. The fact that some Class Members may contract a more
 2                          severe case of COVID-19 does not defeat the commonality of Plaintiffs’
 3                          claim. Rule 23(a)(2) is satisfied.
 4                  c.      Typicality: Plaintiffs’ claim is typical of all Class Members’ claims
 5                          because it is borne out of the conditions at the Facilities. Each Class
 6                          Member has suffered the same constitutional injury resulting from the
 7                          lack of social distancing and COVID-19 mitigation. This claim is typical
 8                          of the entire Settlement Class. Rule 23(a)(3) is satisfied.
 9
                    d.      Adequacy: There are no conflicts of interest between Plaintiffs and Class
10
                            Members, and Plaintiffs have retained competent counsel to represent the
11                          Settlement Class. Class Counsel regularly engage in class action litigation
12                          similar to the present case and have dedicated substantial resources to the
13                          prosecution of this matter. Rule 23(a)(4) is satisfied.
14
                    e.      Class-wide Remedy: Defendants acted and refused to act on grounds that
15
                            apply generally to the Settlement Class, such that final injunctive relief or
16
                            corresponding declaratory relief would respect the Settlement Class as a
17
                            whole. Rule 23(b)(2) is satisfied.
18
            5.      The Court appoints as class representatives, for settlement purposes only, Plaintiffs
19
     Angel De Jesus Zepeda Rivas, Brenda Rubi Ruiz Tovar, Lawrence Kuria Mwaura, Luciano Gonzalo
20
     Mendoza Jeronimo, Coraima Yaritza Sanchez Nuñez, Javier Alfaro, Juan Jose Erazo Herrera,
21
     Rajnish Rajnish, and Willian Matias Rauda. This Court finds, for settlement purposes only, that
22
     Plaintiffs will adequately represent the Settlement Class.
23
            6.      Pursuant to Federal Rule of Civil Procedure 23(g), and for settlement purposes only,
24
     the Court designates as Class Counsel William Freeman, Sean Riordan, and Emilou MacLean
25
     (ACLU Foundation of Northern California); Stephanie Padilla (ACLU Foundation of Southern
26
     California); Bree Bernwanger (Lawyers’ Committee for Civil Rights of the San Francisco Bay
27
     Area); Francisco Ugarte, Jennifer Friedman, Kelly Engel Wells, and Genna Beier (Office of the
28
                                                                                   CASE NO. 3-20-CV-02731
                                                     2.          [PROPOSED] ORDER GRANTING PLAINTIFFS’
                                                                     MOTION FOR PRELIMINARY APPROVAL
        Case 3:20-cv-02731-VC Document 1205-3 Filed 01/27/22 Page 4 of 5



 1   Public Defender of San Francisco); Martin S. Schenker, Timothy W. Cook, and Julie M. Veroff
 2   (Cooley LLP); and Judah Lakin and Amalia Wille (Lakin & Wille LLP) as Class Counsel. The
 3   Court preliminarily finds that, based on the work Class Counsel have done identifying,
 4   investigating, and prosecuting the claims in this action; Class Counsel’s experience in handling
 5   class actions and claims of this type asserted in this Action; Class Counsel’s knowledge of the
 6   applicable law; and the resources Class Counsel have and will commit to representing Settlement
 7   Class, that Class Counsel have represented and will represent the interests of the Settlement Class
 8   fairly and adequately.
 9          7.      The Court finds that the proposed Class Notice and the proposed plan of
10   distribution of the Class Notice meet the requirements of Federal Rules of Civil Procedure
11   23(c)(2) and 23(e)(1) and hereby directs Class Counsel to proceed with the notice distribution in
12   accordance with the terms of the agreement.
13          8.      The Court approves the procedures set forth in the Agreement and the Notice of
14   Settlement of Class Action for objections to the settlement.
15
            9.      Any Class Member who wishes to object to the Agreement must do so within 60
16
     days of this Order.
17
            10.     The Court directs that a hearing be scheduled on                           , 2022 at
18
                   a.m./p.m. (the “Fairness Hearing”) to assist the Court in determining whether the
19
     settlement is fair, reasonable and adequate; and whether Final Judgment should be entered
20
     dismissing with prejudice Defendants in the above-captioned action. Plaintiffs shall file a motion
21
     for final approval of the settlement no later than 14 days before the Fairness Hearing.
22
            11.     The Agreement provides that ICE shall pay Plaintiffs the amount of $4,000,000 in
23
     attorneys’ fees and up to $112,000 in costs taxable under 28 U.S.C. § 1920. Plaintiffs have
24
     submitted information concerning their taxable costs to ICE. The Court preliminarily finds that
25
     the provisions for payment of attorney’s fees and costs are reasonable.
26
            12.     Neither the settlement, nor any exhibit, document, or instrument delivered
27
     thereunder shall be construed as or deemed to be evidence of an admission or concession by
28
                                                                               CASE NO. 3-20-CV-02731
                                                    3.       [PROPOSED] ORDER GRANTING PLAINTIFFS’
                                                                 MOTION FOR PRELIMINARY APPROVAL
         Case 3:20-cv-02731-VC Document 1205-3 Filed 01/27/22 Page 5 of 5



 1    Defendants of an interpretation of, any liability or wrongdoing by Defendants, or of the truth of
 2    any allegations asserted by Plaintiffs, Class Members, or any other person.
 3           13.     If the settlement is not finally approved, or the Effective Date does not occur, or the
 4    settlement is terminated under its terms, then (a) all parties will proceed as if the settlement (except
 5    those provisions that, by their terms, expressly survive disapproval or termination of the settlement)
 6    had not been executed and the related orders and judgment had not been entered, preserving in that
 7    event all of their respective claims and defenses in the action; and (b) all releases given will be null
 8    and void. In such an event, this Court’s orders regarding the settlement, including this Preliminary
 9    Approval Order, shall not be used or referred to in litigation for any purpose. Nothing in the
10    foregoing paragraph is intended to alter the terms of the Agreement with respect to the effect of the
11    Agreement if it is not approved.
12           14.     Plaintiffs’ Unopposed Motion for Preliminary Approval of Proposed Class
13    Settlement (“Motion”) is hereby GRANTED. The Court hereby preliminarily approves the
14    proposed class-wide relief set forth in the Agreement (attached to Plaintiffs’ Motion), hereby
15    certifies the Settlement Class as described in the Agreement for settlement purposes, hereby
16    approves the proposed form and plan of notice (attached to Plaintiffs’ Motion), and hereby
17    schedules the Fairness Hearing.
18
     IT IS SO ORDERED.
19
     Date: ________________, 2022
20
                                                            _____________________________________
21                                                          HON. VINCE CHHABRIA
22                                                          United States District Judge
23

24

25

26

27

28
                                                                                   CASE NO. 3-20-CV-02731
                                                       4.        [PROPOSED] ORDER GRANTING PLAINTIFFS’
                                                                     MOTION FOR PRELIMINARY APPROVAL
